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                    Exhibit A
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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF FLORIDA
                         TALLAHASSEE DIVISION

WILLIAM A. LINK., et al.,
       Plaintiffs,
v.                                       Case No. 4:21-cv-00271-MW-MAF
MANNY DIAZ, JR., in his official
capacity as Florida Commissioner of
Education, et al.,
       Defendants.


                 PLAINTIFFS’ NOTICE OF DEPOSITION OF
                   DEFENDANT RICHARD CORCORAN

      PLEASE TAKE NOTICE that, pursuant to Federal Rules of Civil Procedure

26, Plaintiffs United Faculty of Florida, March for Our Lives Action Fund, William

A. Link, Barry C. Edwards, Jack Fiorito, Robin Goodman, David Price, Julie Adams,

and Blake Simpson (“Plaintiffs”) will take the deposition of Richard Corcoran, via

remote audio-video conference (Zoom), on July 13, 2022 at 9:00 a.m. (Eastern) at

the offices of GrayRobinson, P.A., 301 South Bronough Street, Suite 600,

Tallahassee, FL 32301. The duly qualified court reporter and the deponent shall

appear in-person. The deposition shall be videotaped and shall continue from day to

day until completed. All other parties may appear by remote-audio-video conference

(Zoom).
    Case 4:21-cv-00271-MW-MAF Document 122-1 Filed 07/01/22 Page 3 of 5




      To join the Video Conference (Zoom), a website link will be provided by

Phipps Court Reporting prior to the scheduled deposition.

      This deposition is being taken for purposes of discovery, for use as evidence,

for use at trial, and for such other uses and purposes as are permitted under the

Federal Rules of Civil Procedure and other applicable laws. The deposition will be

by oral examination before a person authorized by law to administer oaths and will

be recorded by stenographic and videographic means. Any objection to the scope of

the topics for this deposition identified in Schedule A must be heard prior to the

taking of the deposition.


Dated: June 13, 2022.                    Respectfully submitted,

                                        /s/ Frederick S. Wermuth
                                        Frederick S. Wermuth
                                        Florida Bar No. 0184111
                                        Thomas A. Zehnder
                                        Florida Bar No. 0063274
                                        Robyn M. Kramer
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                                          & Wermuth, P.A.
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                                        Marc E. Elias
                                        Elisabeth C. Frost*

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                                          whancock@elias.law

                                          Counsel for Plaintiffs

                                          * Admitted Pro Hac Vice

                          CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on June 13, 2022 I served a copy of the foregoing

via email to all counsel listed on the Service List below.


                                       /s/ Frederick S. Wermuth
                                       Frederick S. Wermuth
                                       Florida Bar No. 0184111




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                            SERVICE LIST

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